            CASE 0:20-cr-00284-ECT Doc. 29 Filed 09/09/21 Page 1 of 6



                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
                           Criminal No. 20-284 (ECT)

 UNITED STATES OF AMERICA,

                     Plaintiff,

       v.                                     GOVERNMENT’S SENTENCING
                                                     POSITION
 JENNIFER LYNN BOUTTO,

                     Defendant.

      Defendant Jennifer Lynn Boutto pled guilty to embezzling $315,739.87 from the

Bois Forte Band of Chippewa during her employment at the Fortune Bay Resort Casino.

(Dkt. 1, 12.)   Despite personal difficulties—which would not justify her criminal

conduct—Boutto’s theft outpaced her apparent need. The United States recommends

that the Court impose a sentence of 18-months’ imprisonment followed by a 2-year term

of supervised release, which falls at the bottom of the applicable Guidelines range. Such

a sentence reflects the severity of Boutto’s actions, holds her accountable for the impact

those actions had on the Bois Forte community, promotes respect for the law, and

achieves the balancing goals of Title 18, United States Code, Section 3553.

                             Boutto’s Criminal Conduct

      Jennifer Lynn Boutto—a 32-year-old Caucasian woman—moved to Minnesota in

2004 to live with her boyfriend and find stability following a tumultuous childhood.

(PSR ¶¶ 33-36.) In many respects, she succeeded. Boutto married, completed a nursing

certificate, and attained stable employment. (PSR ¶¶ 36-37, 63-64.) Beginning in 2008,

Boutto began working at the Fortune Bay Resort Casino in Tower, Minnesota. (PSR
            CASE 0:20-cr-00284-ECT Doc. 29 Filed 09/09/21 Page 2 of 6



¶ 63.) Despite earning promotions over the next decade, Boutto eventually chose to

exploit her position to address personal issues and finance her lifestyle. (PSR ¶ 6-9.)

      By June 2013, Boutto had been promoted to Front Desk Supervisor at Fortune

Bay, which permitted her to issue cash refunds without direct oversight. (PSR ¶ 7.)

Boutto’s scheme to defraud was premised on this access. Boutto identified customers

who spent significant money at Fortune Bay and, after the customer checked out, issued

a false cash refund against the invoice. (Id.) Boutto concocted various reasons for the

refunds and then retrieved the cash for herself from Fortune Bay’s vault. (Id.) The

scheme worked, and Boutto’s confidence in it grew over time. (PSR ¶ 8.) Boutto

increased her average false refund over time—from $28 in 2013 to $531 in 2019—and,

over the course of her scheme, multiplied the total annual theft by almost

6 times. (Id.) By the time of her October 2019 termination, Boutto already had stolen

over $88,000 in the span of 10 months. (Id.)

           Year                    Number of False                 Total Stolen
                                      Refunds
            2013                        533                          $15,060.22

            2014                          636                        $20,220.07

            2015                          614                        $29,296.30

            2016                          431                        $40,704.17

            2017                          382                        $57,756.15

            2018                          232                        $64,515.78

            2019                          166                        $88,187.18

                                          2994                      $315,739.87
       Grand Totals

                                            2
            CASE 0:20-cr-00284-ECT Doc. 29 Filed 09/09/21 Page 3 of 6



Between June 2013 and October 2019, Boutto executed her scheme 2,994 times for a

total of $315,739.87. (Id.)

       Boutto ultimately opted to resolve this matter via information. (Dkts. 1, 12.) On

March 9, 2021, Boutto pled guilty to stealing $315,739.87 from the Bois Forte Band of

Chippewa. (Id.) Boutto has complied with all pretrial release conditions and secured

temporary employment at Walmart while awaiting sentencing.

                              The Presentence Report

       The PSR correctly calculated a Guidelines range of 18-24 months based on a total

offense level of 15 and a criminal history category of I. (PSR ¶ 70.) The parties do not

have any outstanding objections or disputes regarding the PSR. (PSR at A.1.)

                              The Appropriate Sentence

       Fraud tends to root in rationalization, and Boutto is no exception. Although the

government does not dispute that Boutto faced family financial difficulties, those debts

were not the responsibility of the Bois Forte Band of Chippewa. Boutto’s embezzlement

exploited a marginalized population and added to sentiments of community mistrust.

These realities require clear deterrence and accountability that must be balanced

against Boutto’s unique circumstances and acceptance of responsibility.             The

government recommends a sentence of 18 months’ imprisonment followed by a 2-year

term of supervised release. (Dkt. 57.)

       Boutto’s path to employment at Fortune Bay is undeniably complex. (PSR ¶¶ 33-

39.)   She survived childhood trauma, overcame an education gap, and endured

mental-health challenges. But this journey also includes clear choices. Boutto’s medical

diagnoses and her husband’s disabilities presented long before the onset of her

                                           3
            CASE 0:20-cr-00284-ECT Doc. 29 Filed 09/09/21 Page 4 of 6



fraudulent scheme. (PSR ¶¶ 35-37, 43-52.) Boutto also benefitted from emotional and

financial support before, during, and after her fraud. (PSR ¶¶ 42, 67.)

      The PSR indicates that medical bills may have motivated aspects of Boutto’s

fraud scheme. (PSR at ¶¶ 13, 37.) Although a regrettable circumstance, this neither

excuses nor fully explains Boutto’s conduct. It is undeniable that the cost of medical

insurance depleted Boutto’s net pay. So too did her husband’s medical conditions and

resulting challenges finding employment. At its worst, it appears that Boutto’s monthly

medical expenses—the total of her medical insurance and out-of-pocket expenses—

totaled approximately $1,300 a month. (Id.) Even if annualized over the entirety of the

scheme, this would equate to $15,600 in such expenses a year. 1 But Boutto issued

herself the averaged equivalent of a $45,105 cash bonus every year during her 7-year

fraud scheme. This annualized amount eclipsed her highest-ever salary and essentially

doubled her income. (PSR at ¶ 63.) And the fact that Boutto stole cash helped her avoid

detection and taxes on these ill-gotten gains.

      Regardless of medical expenses, Boutto’s scheme outpaced her apparent need and

eventually became a mechanism of greed. Boutto started relatively small, avoided

detection, and then ratcheted up the severity of her conduct every year for 7 years. (PSR

¶ 8.) The government’s analysis of Boutto’s bank activity during the last 1.5 years of

her fraud scheme—when she stole the most—substantiates this assertion. Boutto spent

significant sums on Amazon, travel, and a SiriusXM radio subscription. Boutto also




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      The government is aware that Ms. Boutto is preparing a summary of her medical
expenses, which she hopes to provide to the government and the Court ahead of the
sentencing hearing.
                                            4
            CASE 0:20-cr-00284-ECT Doc. 29 Filed 09/09/21 Page 5 of 6



admittedly enjoyed relatively expensive recreational activities such as hunting, fishing,

and riding ATVs. (PSR ¶ 39.) It also is relevant that Boutto minimized other expenses

by living on family land and receiving financial support from other sources. (PSR ¶ 67.)

      The government does not dispute that Boutto has endured hardship that likely

motivated her actions. Boutto also ultimately accepted responsibility. Despite lying

and minimizing the theft when Fortune Bay discovered her misconduct in 2019, Boutto

quickly opted to resolve the matter when confronted with prosecution. (PSR at ¶ 12.)

But Boutto also continues to rationalize her behavior as rooted solely in necessity. (PSR

at ¶ 13.) Boutto must come to grips with two realities—the Bois Forte Band of Chippewa

was not responsible for paying her bills and her embezzlement expanded well beyond

covering bare necessities.

      Boutto engaged in a long-term fraud scheme that targeted a marginalized

Minnesota community—a sentiment that the victim-impact statement filed by the Bois

Forte Band of Chippewa addresses quite eloquently.        (Dkt. 28.)    This informs the

seriousness of the offense and the need for punishment that promotes respect for the

law and deters others from resorting to such measures. But Boutto’s criminality also

must be balanced against her unique characteristics, which somewhat contextualize her

actions as stemming from more than simple greed.         Boutto also will benefit from

correctional treatment to further her mental-health treatments and engage in a fuller

understanding of her actions and the resulting harm. On balance, a sentence at the

bottom of the applicable Guidelines range simultaneously reflects the serious nature of

this offense while accounting for Boutto’s history and circumstances.



                                           5
            CASE 0:20-cr-00284-ECT Doc. 29 Filed 09/09/21 Page 6 of 6



                                     Conclusion

      For these reasons, the government respectfully submits that a sentence of

18-month’s imprisonment followed by a 2-year term of supervised release fully comports

with the United States Sentencing Guidelines and the factors of Title 18, United States

Code, Section 3553(a).

Dated: September 9, 2021              Respectfully Submitted,

                                      W. ANDERS FOLK
                                      Acting United States Attorney

                                      /s/ Jordan L. Sing

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